879 F.2d 863Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Raymond Riddick OLIVER, Plaintiff-Appellant,v.R. KELLEY, Warden, Defendant-Appellee.
    No. 89-7562.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 27, 1989.Decided:  July 13, 1989.
    
      Raymond Riddick Oliver, appellant pro se.
      Before SPROUSE, WILKINSON and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Raymond Oliver, a Virginia inmate, appeals the district court's order dismissing this 42 U.S.C. Sec. 1983 action for failure to demonstrate administrative exhaustion.  Although generally exhaustion of state remedies is not a prerequisite to bringing an action under Sec. 1983, a district court may require an inmate to exhaust administrative remedies certified to meet certain standards.  42 U.S.C. Sec. 1997e.  Virginia's administrative remedy requirements have been certified to meet the standards of Sec. 1997e.  Acting pursuant to 42 U.S.C. Sec. 1997e, the district court ordered appellant to exhaust administrative remedies and to advise the court within 100 days of the result of the administrative proceedings.  The court warned appellant that failure to advise the court regarding exhaustion would result in dismissal of the action.  The district court dismissed the case without prejudice upon expiration of the 100 day period, appellant not having complied with its order.
    
    
      2
      The district court could properly require exhaustion of administrative remedies under 42 U.S.C. Sec. 1997e.  Its dismissal of the action, without prejudice, when appellant failed to comply with its order was not an abuse of discretion.  We therefore affirm the judgment below.  We dispense with oral argument because the dispositive issues have recently been decided authoritatively.
    
    
      3
      AFFIRMED.
    
    